Case 8:20-cv-00325-MSS-NHA    Document 1288    Filed 02/10/25   Page 1 of 25 PageID
                                    26999



                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION


 SECURITIES AND EXCHANGE
 COMMISSION,

       Plaintiff,

 v.                                        Case No.: 8:20-cv-325-MSS-NHA

 BRIAN DAVISON, et al.,

       Defendants.
 ______________________________________/

                    REPORT AND RECOMMENDATIONS

       Pending before the Court is the Receiver’s Unopposed Twentieth

 Quarterly Fee Application for Order Awarding Fees and Reimbursement of

 Costs to Receiver and His Professionals (“Twentieth Quarterly Fee

 Application”). Doc. 1287. The Receiver seeks reimbursement of fees and costs

 for the period from October 1, 2024 through December 31, 2024. Id. at p. 2. The

 Securities and Exchange Commission (“SEC”) does not oppose the request. For

 the reasons below, I recommend that the Twentieth Quarterly Fee Application

 be GRANTED.

       I.    Background

       The SEC brought this action against individual Defendants Brian

 Davison (“Davison”) and Barry Rybicki (“Rybicki”) (collectively, “Individual
Case 8:20-cv-00325-MSS-NHA     Document 1288     Filed 02/10/25   Page 2 of 25 PageID
                                     27000



 Defendants”) and corporate Defendants EquiAlt LLC; EquiAlt Fund, LLC;

 EquiAlt Fund II, LLC; EquiAlt Fund III, LLC; and EA SIP LLC (collectively,

 “Corporate Defendants”), for violations of Sections 5(a) and 5(c) of the

 Securities Act of 1933 (“Securities Act”), 15 U.S.C. §§ 77e(a) and 77e(c); Section

 17(a)(2) of the Securities Act, 15 U.S.C. § 77q(a); Section 10(b) of the Securities

 Exchange Act of 1934 (“Exchange Act”), 15 U.S.C. § 78j(b); and Exchange Act

 Rule 10b-5, 17 C.F.R. § 240.10b-5, regarding the alleged operation of a

 nationwide Ponzi scheme raising more than $170 million from 1,100 investors

 through fraudulent, unregistered securities offerings. See Compl. (Doc. 1).

       The SEC further alleged that Defendants 128 E. Davis Blvd, LLC; 310

 78th Ave, LLC; 551 3D Ave S, LLC; 604 West Azeele, LLC; 2101 W. Cypress,

 LLC; 2112 W. Kennedy Blvd, LLC; 5123 E. Broadway Ave, LLC, Blue Waters

 TI, LLC; BNAZ, LLC; BR Support Services, LLC; Bungalows TI, LLC; Capri

 Haven, LLC; EA NY, LLC; EquiAlt 519 3rd Ave S., LLC; McDonald Revocable

 Living Trust; Silver Sands TI, LLC; and TB Oldest House Est. 1842, LLC

 (collectively, “Relief Defendants”) all received proceeds of the fraud without

 any legitimate entitlement to the money. Id.




                                         2
Case 8:20-cv-00325-MSS-NHA     Document 1288     Filed 02/10/25   Page 3 of 25 PageID
                                     27001



       The District Court appointed Burton W. Wiand as the Receiver in this

 action over the Corporate Defendants, the Relief Defendants, and each of their

 subsidiaries, successors, and assigns. 1 Doc. 11.

       The District Judge outlined the Receiver’s duties, the Court’s basis for

 compensating those duties, and the requirements for the Receiver’s status

 reports and applications for fees. Doc. 11, ¶¶ 1-12, 16, 28-36. In accordance

 with the Court’s directives, the Receiver now submits his Twentieth Quarterly

 Fee Application, seeking compensation for the fees and costs incurred for the

 performance of his duties as well as the fees and costs incurred by the retained

 personnel he hired to assist in the performance of such duties. Doc. 1287.

 Specifically, the Receiver seeks an award of fees and costs incurred from

 October 1, 2024 through December 31, 2024, for: (1) the Receiver, in the

 amount of $57,335.92; (2) Guerra & Partner, P.A. (“G&P”), in the amount of

 $4,636.50; (3) Johnson, Newlon & DeCort (“JND”), in the amount of

 $18,627.87; (4) Jared J. Perez, P.A., in the amount of $2,940.00; (5) Yip

 Associates (“Yip”) in the amount of $1,764.00; (6) PDR CPAs (“PDR”), in the




 1 Subsequently, the District Judge granted the Receiver’s motion seeking to

 expand the Receivership to include EquiAlt Qualified Opportunity Zone Fund,
 LP (“QOZ”); EquiAlt QOZ Fund GP, LLC; EquiAlt Secured Income Portfolio
 REIT, Inc. (“REIT”); EquiAlt Holdings LLC (sponsor of the QOZ and REIT);
 EquiAlt Property Management LLC (property manager of the QOZ and REIT);
 and EquiAlt Capital Advisors, LLC (manager of day-to-day operations for the
 QOZ and REIT). Doc. 184. EquiAlt Fund I, LLC was also later added. Doc. 284.

                                         3
Case 8:20-cv-00325-MSS-NHA     Document 1288    Filed 02/10/25   Page 4 of 25 PageID
                                     27002



 amount of $10,955.66; (7) E-Hounds, Inc. (“E-Hounds”), in the amount of

 $7,471.50; and (8) Omni Agent Solutions (“Omni”), in the amount of $1,367.59.

 Doc. 1287, pp. 29-30. The work of each entity warranting the fee is described

 below.

       II.   Analysis

       District courts maintain “broad powers and wide discretion to award

 relief in an equity receivership.” S.E.C. v. Elliott, 953 F.2d 1560, 1566 (11th

 Cir. 1992) (citations omitted). When a receiver reasonably and diligently

 discharges his or her duties, the receiver is entitled to compensation. Id. at

 1577 (citation omitted); see Stuart v. Boulware, 133 U.S. 78, 82 (1890) (“Nor is

 there any doubt of the power of courts of equity to fix the compensation of their

 own receivers. That power results necessarily from the relation which the

 receiver sustains to the court; and, in the absence of any legislation regulating

 the receiver’s salary or compensation, the matter is left entirely to the

 determination of the court from which he derives his appointment.”).

       A receiver must provide “specific and detailed evidence” in support of an

 application for fees. Norman v. Hous. Auth. of City of Montgomery, 836 F.2d

 1292, 1303 (11th Cir. 1988). “Whether a receiver merits a fee is based on the

 circumstances surrounding the receivership, and results are always relevant.”

 Elliott, 953 F.2d at 1577 (citation omitted); see also F.T.C. v. Worldwide Info

 Servs., Inc., No. 6:14-cv-8-Orl-41DAB, 2015 WL 144389, at *4 (M.D. Fla. Jan.


                                        4
Case 8:20-cv-00325-MSS-NHA      Document 1288     Filed 02/10/25   Page 5 of 25 PageID
                                      27003



 12, 2015) (citation omitted) (noting that courts may consider several factors in

 determining the reasonableness of a fee award to a receiver, including “(1) the

 results achieved by the receiver; (2) the ability, reputation and other

 professional qualities of the receiver; (3) the size of the estate and its ability to

 afford the expenses and fees; and (4) the time required to conclude the

 receivership.”). “[W]here the time or fees claimed seem expanded or there is a

 lack of documentation or testimonial support the court may make the award

 on its own experience.” Norman, 836 F.2d at 1303 (citation omitted). “Where

 documentation is inadequate, the district court is not relieved of its obligation

 to award a reasonable fee, but the district court traditionally has had the power

 to make such an award without the need of further pleadings or an evidentiary

 hearing.” Id. (citing Hensley v. Eckerhart, 461 U.S. 424, 433 (1983)).

        “The most useful starting point for determining the amount of a

 reasonable fee is the number of hours reasonably expended on the litigation

 multiplied by a reasonable hourly rate.” Hensley, 461 U.S. at 433. A

 “reasonable hourly rate” consists of “the prevailing market rate in the relevant

 legal community for similar services by lawyers of reasonably comparable

 skills, experience, and reputation.” Norman, 836 F.2d at 1299 (citations

 omitted). In this context, “market rate” means the hourly rate charged in the

 local legal market by an attorney with expertise in the relevant area of law

 who is willing and able to take the case, if indeed such an attorney exists. Am.


                                          5
Case 8:20-cv-00325-MSS-NHA     Document 1288    Filed 02/10/25   Page 6 of 25 PageID
                                     27004



 Civil Liberties Union of Ga. v. Barnes, 168 F.3d 423, 437 (11th Cir. 1999). After

 determining the reasonable hourly rate, courts must then determine the

 number of hours reasonably expended on the litigation. Norman, 836 F.2d at

 1305. Both a receiver and his counsel must exercise proper “billing judgment,”

 that is, both should make a “good faith effort to exclude from a fee request

 hours that are excessive, redundant, or otherwise unnecessary. . . .” Hensley,

 461 U.S. at 434.

       As to claims for professional services, the receiver must also provide

 evidence that the hourly rate is reasonable and commensurate with rates paid

 for similar services and that the time expended by such professionals was

 reasonable. See Norman, 836 F.2d at 1303 (The “fee applicant bears the burden

 of establishing entitlement and documenting the appropriate hours and

 hourly rates.”). The receiver must present sufficient information to permit the

 Court to determine that any expenses were actually and necessarily incurred.

 Id.

       The Court is an expert with respect to fee applications and therefore may

 consider a fee award based on its own experience and knowledge concerning

 reasonable and proper fees. Norman, 836 F.2d at 1303 (citations omitted).

       Additionally, in considering a fee award to a receiver, “[o]pposition or

 acquiescence by the SEC to the fee application will be given great weight.”

 S.E.C. v. Byers, 590 F. Supp. 2d 637, 644 (S.D.N.Y. 2008); see also S.E.C. v.


                                        6
Case 8:20-cv-00325-MSS-NHA     Document 1288    Filed 02/10/25    Page 7 of 25 PageID
                                     27005



 Mgmt. Sols., Inc., 824 F. App’x 550, 553 n. 2 (10th Cir. 2020) (holding the

 same).

       Upon review of the Twentieth Quarterly Fee Application, including the

 accompanying fee and costs records (Doc. 1287), I find that the Receiver

 continued to properly perform his duties and employ professionals to help carry

 out those duties. Further, the Receiver and the retained personnel discharged

 their duties in a diligent and reasonable manner and did not incur unnecessary

 fees or costs. Importantly, as noted above, the SEC does not oppose the

 Receiver’s request for fees and costs. Id.

             A. Receiver

       The Receiver seeks $57,335.92 for himself, for work performed from

 October 1, 2024 through December 31, 2024. Doc. 1287, p. 8.

       During the Twentieth Quarter, the Receiver charged an hourly rate of

 $360 for 122.30 hours expended on receivership activities, which included, for

 example, corresponding with agents, purchasers, and auction participants;

 reviewing   disbursement      distribution   sheets,   price    opinions,   escrow

 agreements, and settlement statements; coordinating with the professionals

 he contracted; and reviewing invoices, bank statements, and other financial

 documents. Doc. 1287-2.




                                         7
Case 8:20-cv-00325-MSS-NHA     Document 1288    Filed 02/10/25   Page 8 of 25 PageID
                                     27006



         Broken down by Activity Category, 2 the Receiver’s time was allocated as

 follows:

     Activity Category        Hours Expended           Fee Amount
     Asset Disposition        40.60                    $14,616.00
     Asset Analysis and       4.00                     $1,440.00
     Recovery
     Business Operations      70.60                    $25,416.00
     Case Administration      2.40                     $864.00
     Claims Administration    4.70                     $1,692.00
     TOTAL                    122.30                   $44,028.00




 2 The Activity Categories set forth by the Commission in the Billing
 Instructions are as follows: (1) Asset Analysis and Recovery, which is defined
 as “identification and review of potential assets including causes of action and
 non-litigation recoveries”; (2) Asset Disposition, which is defined as “sales,
 leases, abandonment and related transaction work” (where extended series of
 sales or other disposition of assets is contemplated, the Billing Instructions
 provide that a separate category should be established for each major
 transaction); (3) Business Operations, which is defined as “issues related to
 operation of an ongoing business;” (4) Case Administration, which is defined
 as “coordination and compliance activities, including preparation of reports to
 the court, investor inquiries, etc.;” (5) Claims Administration and Objections,
 which is defined as “expenses in formulating, gaining approval of and
 administering any claims procedure;” and (6) Employee Benefits/Pensions,
 which is defined as “review [of] issues such as severance, retention, 401K
 coverage and continuance of pension plan.” Billing Instructions for Receivers
 in Civil Actions Commenced by the United States Securities and Exchange
 Commission,                                available                           at
 https://www.sec.gov/oiea/Article/billinginstructions.pdf.      The        Billing
 Instructions provide that time spent preparing motions for fees may not be
 charged to the Receivership Estate. Id. at p. 8. Per these instructions, the
 Receiver created an additional Activity Category for work on fees motions and
 has accounted for time spent on such work but has not charged any amount for
 that work. Doc. 1287, p. 9.

                                         8
Case 8:20-cv-00325-MSS-NHA    Document 1288    Filed 02/10/25   Page 9 of 25 PageID
                                    27007



       The Receiver also charged for 2.10 hours expended on recovery of false

 profits from investors. Doc. 1287, p. 12. In addition, the Receiver seeks an

 hourly rate of $125 per hour for 99.40 hours of paralegal work, 3 for a total of

 $12,425.00. Doc. 1287, pp. 10-11; see Doc, 1287-3. Specifically, as summarized

 in the Receiver’s invoice (Doc. 1287-3), the Receiver’s paraprofessional, Edwina

 Tate, spent 58.3 hours assisting with asset disposition, 32.8 hours helping with

 business operations, and 8.3 hours working on claims administration and

 objections. Doc. 1287-3.

       Based on my own experience and the rates typically awarded to court-

 appointed receivers in the Middle District of Florida (see Docs. 586, 731, 830),

 the Receiver’s requested hourly rate of $360, and his paralegal’s requested

 hourly rate of $125, are reasonable. See, e.g., F.T.C. v. First Choice Horizon

 LLC, Case No. 6:19-cv-1028-Orl-40LRH, 2020 WL 1431526, at *2-3 (M.D. Fla.

 Jan. 15, 2020), report and recommendation adopted, 2020 WL 1431601 (M.D.

 Fla. Jan. 31, 2020) (considering several factors in concluding that an hourly


 3 Courts only reimburse work of paralegals and law clerks when such
 individuals perform work traditionally done by attorneys. Jean v. Nelson, 863
 F.2d 759, 778 (11th Cir. 1988) (concluding that a district court properly
 reimbursed the time spent by paralegals and law clerks where the work was
 normally done by an attorney). In this instance, a review of the time records
 for the paralegal (Doc. 1287-3) indicates that the work performed by the
 paralegal constituted legal work normally performed by an attorney rather
 than clerical work. Accordingly, I recommend awarding the fees requested for
 work performed by the paralegal, as both the requested rate and the time
 expended on such work are reasonable.

                                        9
Case 8:20-cv-00325-MSS-NHA    Document 1288    Filed 02/10/25   Page 10 of 25 PageID
                                    27008



  rate of $350 was reasonable for a court-appointed receiver in the Middle

  District of Florida); F.T.C. v. MOBE Ltd., Case No. 6:18-cv-862-Orl-37DCI,

  2018 WL 4782327, at *3 (M.D. Fla. Sept. 17, 2018), report and recommendation

  adopted, 2018 WL 4774960 (M.D. Fla. Oct. 3, 2018) (finding a rate of $330 per

  hour a reasonable rate for compensating a court-appointed receiver in the

  Middle District of Florida); F.T.C. v. Life Mgmt. Serv. of Orange Cnty., LLC,

  Case No. 6:16-cv-982-Orl-41TBS, 2017 WL 4861467, at *3 (M.D. Fla. Aug. 9,

  2017), report and recommendation adopted, 2017 WL 4877460 (M.D. Fla. Oct.

  30, 2017) (finding a rate of $325 per hour a reasonable rate for compensating

  a court-appointed receiver in the Middle District of Florida and finding

  reasonable 129.2 hours expended by such receiver).

        Furthermore, the hours expended by the Receiver and his paralegal

  during the period from October 1, 2024 through December 31, 2024 do not

  appear excessive, redundant, or unnecessary. During the relevant period, the

  Receiver held two online auctions resulting in contracts on sixteen properties;

  continued working with claimants to resolve distribution issues related to

  death, divorce, and custodian changes; collected $2,099.88 in monies from

  investor claw back claims; collected $600 in sales agent claw back claims;

  closed on the last three properties from sixteenth auction for net proceeds of

  $544,679.96; closed on eight of thirteen properties from the seventeenth

  auction with net proceeds of $1,171,980.21; closed on two of eight properties


                                        10
Case 8:20-cv-00325-MSS-NHA    Document 1288     Filed 02/10/25   Page 11 of 25 PageID
                                    27009



  from the Receiver’s eighteenth auction for a total of $224,351.48 in net

  proceeds; reviewed the Court approved Transfer Title motions for the

  properties sold during the Receiver’s eighteenth auction; worked to register

  claw back judgments in California and New York; continued the sale of

  miscellaneous items resulting in proceeds of $692.31; continued working with

  partners on the operations of Commerce Brewing, including the acquisition by

  Commerce of Persimmon Hollow; and investigated the potential sale of claw

  back judgments. Doc. 1286, pp. 3-4.

        In addition to reimbursement for fees, the Receiver seeks reimbursement

  of costs in the amount of $126.92, which he spent on delivery services, web-

  related expenses, and notary services. Doc. 1287, p. 11.

        I find the 124.40 hours expended by the Receiver, the 99.40 hours

  expended by the paralegal, and the $126.92 in costs incurred from October 1,

  2024 through December 31, 2024 to be fair and reasonable, considering the

  activities performed and the results achieved. Thus, I recommend the Court

  award the Receiver the requested $57,335.92.

              B. G&P

        With respect to legal services, the Receiver retained G&P, which the

  District Judge specifically authorized in the Order Appointing the Receiver.

  Doc. 11, ¶ 16. The Receiver now seeks $4,636.50 for services provided by G&P

  from October 1, 2024 through December 31, 2024. Doc. 1287, pp. 13-14.


                                        11
Case 8:20-cv-00325-MSS-NHA        Document 1288   Filed 02/10/25   Page 12 of 25 PageID
                                        27010



        From October 1, 2024 through December 31, 2024, G&P liquidated

  assets for the benefit of the Receivership, investigated and pursued additional

  assets for the Receivership, and administered the claims process. See Doc.

  1287, p. 13. Specifically—and as further detailed in G&P’s description of

  services (Doc. 1287-6)—G&P spent 4.70 hours on business operations

  assistance and 20.70 hours on claims administration and objections. 4 Doc.

  1287, p. 13; see Doc. 1287-6.

        For associated fees, G&P proposes hourly rates of $240 for non-partners

  and $135 for paralegals. Doc. 1287, p. 14.; see Doc. 1287-6. The requested rates

  are as follows:

Professional        Position       Experience     Hours       Rate    Fees
Maya Lockwood       Of             25 years       11.50       $240.00 $2,760.00
                    Counsel
Kimberly            Paralegal                     13.90       $135.00 $1,876.50
Paulson
TOTAL                                                                   $4,636.50


  Doc. 1287-6.

        Given the parties’ respective positions and Ms. Lockwood’s level of

  experience level, the requested hourly rates appear reasonable. See F.T.C. v.

  Hardco Holding Grp. LLC, No. 6:17-cv-1257-Orl-37TBS, 2017 WL 4772624, at

  *4-5 (M.D. Fla. Oct. 3, 2017), report and recommendation adopted, 2017 WL


  4 G&P also spent 16.20 hours working on fee motions, time for which they did

  not charge the Court. Doc. 1287-6, pp. 8-11.

                                          12
Case 8:20-cv-00325-MSS-NHA    Document 1288    Filed 02/10/25   Page 13 of 25 PageID
                                    27011



  4700396 (M.D. Fla. Oct. 19, 2017) (finding an hourly rate of $210 for an

  attorney with two years’ experience on the high side but not unreasonable; an

  hourly rate of $325 for an associate with seven years’ experience reasonable

  and at or below that charged by attorneys of comparable experience and skills

  in the Middle District of Florida; an hourly rate of $400 for an attorney with

  twelve years’ experience and particularized expertise reasonable; and a

  discounted hourly rate of $400 for a partner with twenty-one years’ experience

  reasonable); Life Mgmt. Serv. of Orange Cnty., LLC, 2017 WL 2869535, at *2-

  4, report and recommendation adopted, 2017 WL 4877460 (concluding that

  hourly rates charged for legal services rendered on behalf of a court-appointed

  receiver in the amounts of $310, $360, and $410 were reasonable and an hourly

  rate of $125 for legal work performed by paralegals was reasonable).

        The hours expended by counsel and the paralegal do not appear

  unnecessary, excessive, or redundant but rather reflect a reasonable amount

  of time spent on this matter. Given that both the hourly rate and the hours

  expended are reasonable, I recommend that G&P be awarded $4,636.50 in fees

  for the quarter.




                                        13
Case 8:20-cv-00325-MSS-NHA    Document 1288    Filed 02/10/25   Page 14 of 25 PageID
                                    27012



              C. JND 5

        The Receiver retained the law firm of JND to assist as co-counsel to G&P

  (see Doc. 278), which the Court approved (Doc. 282). As an accommodation to

  the Receiver and to conserve the resources of the Receivership Estate, JND

  agreed to the reduced rates for attorneys and paralegals as provided in the

  G&P fee schedule. Doc. 1287, p. 14; see also Doc. 1287-5. Based on those rates,

  the Receiver asks the Court to award JND $18,627.87, which includes

  $17,549.50 in fees for professional services rendered and $1,078.37 in costs

  incurred from October 1, 2024 through December 31, 2024. Doc. 1287, p. 14.

        JND assisted the Receiver in investigating fraud and related activities;

  liquidating Receivership assets; investigating and pursuing additional assets

  for the Receivership; and administering the claims process. Id. at pp. 14-15;

  Doc. 1287-7. In this capacity, JND corresponded with the Receiver regarding

  case and account management; reviewed and drafted motions to strike and

  transfer accounts; and reviewed and organized case documents. Doc. 1287-7.

  JND’s time and fees for services rendered on this matter for each Activity

  Category are as follows:


   Activity Category         Hours Expended            Fee Amount
   Asset Disposition         6.50                      $2,124.50


  5 The firm name changed from Johnson, Cassidy, Newlon & DeCort (see Doc.

  975 at p. 3) to Johnson, Newlon & DeCort (“JND”) since entry of the Order
  Appointing the Receiver (see Doc. 936).

                                        14
Case 8:20-cv-00325-MSS-NHA     Document 1288       Filed 02/10/25   Page 15 of 25 PageID
                                     27013



   Asset Analysis and         7.30                          $2,555.00
   Recovery
   Business Operations        17.40                         $5,144.00
   Case Administration        4.90                          $1,650.50
   Claims Administration      34.90                         $5,270.50
   TOTAL                      71.00                         $16,744.50

  Doc. 1237, p. 15; Doc. 1237-7.

        A summary of the professionals’ hours rendered during the time covered

  by this Application is set forth below

   Professional        Position      Experience Hours         Rate       Fees
   Katherine           Partner       28 years   33.30         $350.00    $11,655.00
   Donlon
   Mary Gura           Paralegal                    37.70     $135.00    $5,089.50
   Total Fees:                                      71.00                $16,744.50

  Doc. 1287, p. 15.

        In addition to legal fees, JND seeks the following costs:

   Costs                                        Total
   Publication Costs                            $425.17
   Research                                     $7.05
   Delivery/Mail                                $64.65
   Certified Copies                             $175.50
   Total Costs:                                 $672.37

  Doc. 1287, pp. 15-16.

        JND also assisted the Receiver in recovering false profits from investors

  who received monies in excess of their investments. Doc. 1287, p. 16.

  Specifically, JND drafted and reviewed correspondences regarding the

  registration of judgments and receipts of payment. R. 1287-8.



                                           15
Case 8:20-cv-00325-MSS-NHA      Document 1288   Filed 02/10/25   Page 16 of 25 PageID
                                      27014



        JND seeks the following fees and costs as to those services (see Doc. 1287,

  p. 17):

   Professional        Position    Experience Hours         Rate    Fees
   Katherine           Partner     28 years   2.30          $350.00 $805.00
   Donlon
   Total Fees:                                      2.30              $805.00

   Costs                                   Total
   Delivery/Mail                           $205.74
   Certification of Judgments              $137.00
   Total Costs:                            $342.74

        JND also assisted the Receiver in clawback litigation against former

  principals and employees of EquiAlt and sales agents who received

  commissions for the sale of EquiAlt debentures. Doc. 1287, p. 17. JND did not

  incur any fees for services rendered for this matter for the time covered by this

  Application, but advanced costs of $63.26 as summarized below:

   Costs                                   Total
   Fee to Register Judgment                $52.00
   Delivery/Mail                           $11.26
   Total Costs:                            $63.26


  Doc. 1287, p. 18.

        Upon review of the billing records, the hours JND expended appear fair

  and reasonable for the services performed and present no redundancies or

  superfluities. Docs. 1287-7, 1287-8. While some of JND’s services appear

  redundant to those of G&P, the Receiver explained that lead counsel of G&P

  (Ms. Donlon) left G&P to join JND. Doc. 278, pp. 2-3. The Receiver believed

                                         16
Case 8:20-cv-00325-MSS-NHA     Document 1288     Filed 02/10/25   Page 17 of 25 PageID
                                     27015



  that, due to her extensive experience, it would be in the best interest of the

  receivership to continue to use Ms. Donlon’s services and to have JND act as

  co-counsel to G&P on this matter. Id. The Receiver asserted there will not be

  “any duplication of services provided by the two firms.” Id. at p. 3.

        As discussed above, the proposed rates are reasonable for the Middle

  District of Florida. See Hardco Holding Grp. LLC, No. 6:17-cv-1257-Orl-

  37TBS, 2017 WL 4772624, at *4-5, report and recommendation adopted, 2017

  WL 4700396; Life Mgmt. Serv. of Orange Cnty., LLC, 2017 WL 2869535, at *2-

  4, report and recommendation adopted, 2017 WL 4877460.

        In addition, the costs of publishing, researching, obtaining certified

  copies and certification of judgments, and performing delivery services appear

  to be necessary and reasonable. Doc. 1287, pp. 16-17.

        I recommend that JND be awarded $18,627.87, which includes

  $17,549.50 in fees for professional services and $1,078.37 in costs.

              D. Jared J. Perez, P.A.

        The Receiver also retained the services of Jared J. Perez, P.A. (Doc. 610)

  for services such as motion drafting and preparing for and attending case

  management and strategy meetings. The District Judge approved the

  retention of those services. Doc. 639. From October 1, 2024 to December 31,

  2024, Jared J. Perez, P.A. expended 4.4 hours revising the first draft of the




                                         17
Case 8:20-cv-00325-MSS-NHA     Document 1288    Filed 02/10/25   Page 18 of 25 PageID
                                     27016



  motion to approve the third interim distribution and 4 hours attending

  monthly operations and case management meetings. Doc. 1287-10.

        As an accommodation to the Receiver and to conserve the resources of

  the Receivership Estate, Mr. Perez, a partner with 17 years of experience (see

  Doc. 1287, p. 19), has agreed to reduce his hourly rate to $350, as provided in

  the G&P fee schedule. Doc. 1287, p. 18; see Doc. 1287-5. Based on that rate, the

  Receiver now seeks a total of $2,940.00 for the 8.40 hours of Mr. Perez’s work.

  Doc. 1287, p. 19.

        Given Mr. Perez's experience and the work he performed, I find the hours

  expended and the hourly rate fair and reasonable. Therefore, I recommend that

  Jared J. Perez be awarded $2,940.00.

              E. Yip Associates

        With the District Judge’s express authorization (Doc. 11, ¶ 3), the

  Receiver retained the services of Yip, a forensic accounting firm specializing in

  insolvency and restructuring, Ponzi schemes, fraud investigations, insolvency

  taxation, business valuation, and litigation support (Doc. 1287, p. 19). During

  the relevant quarter, Yip spent 7.2 hours rendering its professional services,

  specifically: 1.5 hours reviewing disgorgement calculations for corporate

  defendants and corresponding with Receiver’s counsel regarding that review;

  2.4 hours preparing a schedule of disgorgement calculations; 3.1 hours

  reviewing and updating calculations of lost returns on investment (ROI), and


                                         18
Case 8:20-cv-00325-MSS-NHA         Document 1288   Filed 02/10/25   Page 19 of 25 PageID
                                         27017



  0.2 hours corresponding with Receiver’s counsel regarding that review. Doc.

  1287-11. In addition, as detailed more fully by the Receiver, Yip “has been

  instrumental to the Receiver in investigating and analyzing the financial

  status of the Receivership Entities and the investment scheme at issue in this

  case,” including, but not limited to, tracing investor proceeds to various assets

  and properties and substantially completing the process of gathering the

  investors’ investments and distributions for the claims process. Doc. 1287, pp.

  19-20.; see also Doc. 1287-11. As the Receiver has indicated throughout these

  proceedings, most of the costs associated with forensic accounting services

  occur on the front end of the Receivership, are not duplicated later, and result

  in greater efficiency as the claims process and filing of claw-back actions

  commences.

        The Receiver now seeks an award of $1,764.00 in fees to Yip based on its

  services as follows:

   Professional          Position    Experience Hours         Rate       Fees

   Danny                 Manager     6 years       7.20       $245.00    $1,764.00
   Zamorano

   TOTAL:                                                                $1,764.00


  Doc. 1287, p. 20; Doc. 1287-11.

        The hourly rate appears reasonable given Mr. Zamorano’s experience

  and position. See F.T.C. v. Nationwide Connections, Inc., Case No. 06-80180-

                                           19
Case 8:20-cv-00325-MSS-NHA    Document 1288     Filed 02/10/25   Page 20 of 25 PageID
                                    27018



  Civ-Ryskamp/Vitunac, 2009 WL 10669124, at *8-9 (S.D. Fla. Apr. 14, 2009),

  report and recommendation adopted, 2009 WL 10668438 (S.D. Fla. Apr. 24,

  2009) (awarding a forensic accounting firm used by a court appointed receiver

  fees in the amount of $32,333.50 for 143.7 hours of forensic accounting work at

  a blended rate of approximately $225 per hour). Nor do the hours appear

  inflated, excessive, or unnecessary for the work performed during this period.

  Accordingly, I recommend that Yip be awarded $1,764.00.

              F. PDR

        The Receiver also retained the services of PDR to assist with accounting

  and tax matters. Doc. 1287, p. 21. The District Judge approved the retention

  of PDR and limited its role to internal Receivership accounting, financial

  reporting, tax preparation and filing, and internal accounting for EquiAlt. See

  Doc. 85. The District Judge directed the Receiver to report the maximum

  number of hours it anticipated PDR would expend, and, should it become

  apparent that PDR’s hours would exceed the anticipated maximum, to submit

  a motion to that effect. Id. In approving the retention of PDR, the District

  Judge approved the following hourly rates for PDR employees working on this

  matter: $320 for partners/principals; $210 for managers; $180 for senior

  associates; and $125 for staff members. Id.




                                        20
Case 8:20-cv-00325-MSS-NHA       Document 1288      Filed 02/10/25   Page 21 of 25 PageID
                                       27019



        Originally, the Receiver reported that a principal of PDR agreed to a

  maximum of $15,000 for PDR’s services for each of the first three months and

  then a maximum of $6,000 for each month thereafter. Doc. 87, p. 3.

        Subsequently, the Receiver filed a motion seeking fees for PDR in excess

  of the previously approved limits, because PDR had expanded its role in this

  case. 6 Doc. 572, pp. 25-26. In that motion, the Receiver explained that the

  monthly limits were “no longer reflective of reasonable monthly fees.” Id. at p.

  26. The Court granted the motion and awarded fees in excess of the previous

  budget. Doc. 586. Since then, the Receiver has routinely requested fees in

  excess of the previously approved budget (Docs. 614, p. 27; 710, p. 29; 804, p.

  27; 1089, pp. 23-24), and the Court has routinely granted such requests (Docs.

  586, p. 3; 731, p. 3; 830, p. 3; 889, p. 3; 1151, p. 3).

        Here, the Receiver again seeks an award far above the originally

  approved budget. The Receiver seeks $10,955.66 for fees and disbursements

  for accounting, consulting, and tax services provided by PDR during the

  relevant period. Doc. 1287, pp. 21-22; Doc. 1287-12. Specifically, PDR

  researched tax planning, reviewed and approved accounts payable, entered

  invoices, printed checks, reviewed bank activities, processed payroll, updated


  6 PDR’s role in the case expanded when EquiAlt’s senior accounting employee

  was terminated at the end of February 2022. Doc. 572, p. 25. Following the
  termination of this position, PDR assumed the duties of that position. Id. The
  Receiver has not specified which duties this encompasses. Id.

                                            21
Case 8:20-cv-00325-MSS-NHA     Document 1288    Filed 02/10/25   Page 22 of 25 PageID
                                     27020



  account records, and prepared for and attended monthly operations meetings.

  Id. The requested fees include hourly rates consistent with the original rate

  proposal: $320 for Partner William Price, $210 for Manager Matthew Low,

  $155 for Manager Gail Heinold, and $125 for Staff Members Sharon O’Brien,

  Andres Almanza Madrid, Daria Ivantsova, and Taylor Jones. Doc. 1287, p. 21;

  Doc. 1287-12.

        Upon review, the 72.75 hours PDR spent on accounting and tax matters

  over the three-month period appear reasonable. Doc. 1287, pp. 21-22. If the

  Court intended that its initial deviation from the budget would render void the

  originally proposed budget limit and would authorize exceeding the budget

  every quarter thereafter, I recommend fees be awarded in the amount of

  $10,955.66 for the work performed by PDR.

              G. E-Hounds

        For computer forensics services, the Receiver retained E-Hounds, which

  the District Judge authorized in the Order Appointing the Receiver. Doc. 11,

  ¶ 3. Relevant here, E-Hounds maintains and updates a proprietary review

  platform, which collects and preserves electronic records. Doc. 1287, p. 22.

        The Receiver seeks an award of $7,471.50 for services rendered and costs

  incurred by E-Hounds. Doc. 1287, pp. 22-23. This award includes $3,570.00 in

  charges for maintenance and use of the proprietary platform; $3,375.00 in

  charges for use of the platform by additional users; and $526.50 for computer


                                        22
Case 8:20-cv-00325-MSS-NHA      Document 1288      Filed 02/10/25   Page 23 of 25 PageID
                                      27021



  forensic services such as managing updates and refunds relating to its

  collection and preservation of GoDaddy records. Doc. 1287, pp. 22-23.

        The fees and costs are reasonable for collecting and preserving electronic

  records to facilitate review of electronic data. See, e.g., SEC v. Kinetic Inv. Grp.,

  Case No. 8:20-cv-394-MSS-SPF (M.D. Fla.) (Docs. 73 and 101); CFTC v. Oasis

  Int’l Grp. Ltd., Case No. 8:19-cv-886-VMC-SPF (M.D. Fla.) (Docs. 203 and 207).

  I recommend that E-Hounds be awarded $7,998.00 for services provided and

  costs incurred between October 1, 2024 and December 31, 2024.

               H. Omni

        The Receiver retained Omni to assist with the administration of the

  claims process (see Doc. 335), which the District Judge approved (Doc. 347).

  According to the Receiver, “Omni is an information management company that

  provides administrative services and technology solutions to simplify claims

  administration.” Doc. 1287, p. 23.

        Omni assists in mailing, determining the correct addresses for returned

  mail, addressing clerical deficiencies, performing data entry for the returned

  Proof of Claim Forms, and processing distributions. Doc. 1287, pp. 23-24. The

  Standard Services Agreement between the Receiver and Omni indicates that

  Omni will generally charge hourly rates ranging from $135 to $205,

  representing a 5% discount (see Doc. 335-5), which the District Judge adopted

  in authorizing the Receiver to retain Omni (Doc. 347, p. 4).


                                           23
Case 8:20-cv-00325-MSS-NHA       Document 1288   Filed 02/10/25   Page 24 of 25 PageID
                                       27022



        The Receiver now seeks fees in the amount of $1,367.59 for 21.20 hours

  expended by several Omni employees. Doc. 1287-15. As detailed in Omni’s

  timesheet, Omni employees reviewed and responded to creditors’ email

  inquiries; prepared and sent communication logs to, and otherwise

  corresponded with, JND; and worked on project-related communications and

  daily reports. Doc. 1287-14.

        Upon review of the time records, the hours do not appear excessive,

  redundant, or unnecessary. Docs. 1287-14, 1287-15. Further, the fee amounts

  fall within those the District Judge has approved. Accordingly, I recommend

  that the Court award Omni $1,367.59 in fees.

        III.   Conclusion

        For these reasons, I respectfully RECOMMEND:

               1. The   Receiver’s    Unopposed     Twentieth     Quarterly    Fee

                 Application for Order Awarding Fees and Reimbursement of

                 Costs to Receiver and His Professionals (Doc. 1287) be

                 GRANTED;

               2. The requested fees and costs be awarded to:

                    a. The Receiver, in the amount of $57,335.92;

                    b. G&P, in the amount of $4,636.50;

                    c. JND, in the amount of $18,627.87;

                    d. Jared J. Perez, P.A., in the amount of $2,940.00;


                                         24
Case 8:20-cv-00325-MSS-NHA      Document 1288     Filed 02/10/25   Page 25 of 25 PageID
                                      27023



                     e. Yip Associates, in the amount of $1,764.00;

                     f. PDR, in the amount of $10,955.66, if the Court meant for

                        its order permitting the initial request for deviation from

                        the budget to render void the originally proposed budget;

                     g. E-Hounds, in the amount of $7,471.50; and

                     h. Omni, in the amount of $1,367.59.



  RESPECTFULLY SUBMITTED for consideration by the Honorable Mary S.

  Scriven, in Tampa, Florida, on February 10, 2025.




                              NOTICE TO PARTIES

        A party has fourteen days from this date to file written objections to the

  Report and Recommendation’s factual findings and legal conclusions. A party’s

  failure to file written objections waives that party’s right to challenge on appeal

  any unobjected-to factual finding or legal conclusion the district judge adopts

  from the Report and Recommendation. See 11th Cir. R. 3-1. To expedite

  resolution, parties may file a joint notice waiving the 14-day objection period.



                                          25
